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 7

 8                             UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10 STEVEN LEVENTHAL, Individually and on )       Case No. 5:21-cv-09953
   Behalf of All Others Similarly Situated,  )
11                                           )   CLASS ACTION
                                 Plaintiff,  )
12                                           )   COMPLAINT FOR VIOLATIONS OF
          vs.                                )   THE FEDERAL SECURITIES LAWS
13                                           )
   CHEGG, INC., DANIEL L. ROSENSWEIG, )
14 ANDREW J. BROWN, NATHAN SCHULTZ, )
   JOHN P. FILLMORE and ROBIN                )
15 TOMASELLO,                                )
                                             )   DEMAND FOR JURY TRIAL
16                               Defendants. )
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 1                     INTRODUCTION AND SUMMARY OF THE ACTION

 2          Plaintiff Steven Leventhal (“Plaintiff”), individually and on behalf of all others similarly

 3 situated, by Plaintiff’s undersigned counsel, alleges the following based upon personal

 4 knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

 5 matters based on the investigation conducted by and through Plaintiff’s counsel, which included,

 6 among other things, a review of Securities and Exchange Commission (“SEC”) filings by

 7 Chegg, Inc. (“Chegg” or the “Company”), as well as media and analyst reports about the

 8 Company. Plaintiff believes that substantial additional evidentiary support will exist for the

 9 allegations set forth herein after a reasonable opportunity for discovery.

10          1.      This is a securities fraud class action on behalf of all purchasers of Chegg

11 common stock between May 5, 2020 and November 1, 2021, inclusive (the “Class Period”)

12 seeking remedies under §§ 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

13 “Exchange Act”), and SEC Rule 10b-5 promulgated thereunder.

14          2.      Defendant Chegg is a provider of online research tools, online tutoring services,

15 digital and physical textbook rentals, and other educational resources. Chegg and several of its

16 senior insiders made materially false and misleading statements during the Class Period about

17 the primary drivers of the Company’s success dramatically increasing subscribers, growth, and

18 revenues. Defendants falsely touted that the Company was “in a unique position to impact the

19 future of the higher education ecosystem” and that the primary cause of the Company’s success

20 was “[o]ur strong brand and momentum” which would allow Chegg “to continue to grow and

21 take advantage of the ever-expanding opportunities in the learner economy.” In fact, defendants

22 knew that Chegg’s increase in subscribers, growth, and revenue was a temporary effect of the

23 COVID-19 pandemic that resulted in remote education for the vast majority of U.S. students.

24 Defendants were also aware that the platform was helping students cheat on their exams. Once

25 the pandemic-related restrictions eased and students returned to campuses nationwide and

26 schools and universities implemented protocols to eliminate cheating, students predictably

27 stopped subscribing to the platform.        In short, Chegg had no basis to believe that the

28 extraordinary, but temporary, growth trends would continue, but failed to adequately inform

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 1 investors of that reality.

 2          3.      While Chegg’s stock price was artificially inflated, several officers and directors

 3 sold $95 million worth of stock – far exceeding the amount sold in the prior comparable period –

 4 including $48 million by the Company’s Co-Chairman, CEO and President and $25 million by

 5 the Company’s President of the Learning Services division. Certain putative class members

 6 traded contemporaneously with these defendants and were damaged thereby.

 7          4.      In addition, the Company took advantage of the artificially inflated trading price

 8 of Chegg stock by selling more than $1 billion of common stock to investors in a

 9 February 18, 2021 secondary offering at the artificially inflated price of $102 per share. Certain

10 putative Class members purchased stock directly in this secondary offering and have standing to

11 assert additional claims against the Company and the underwriters of that offering pursuant to

12 the Securities Act of 1933.

13          5.      On November 1, 2021, Chegg revealed its financial results for the first quarter in

14 which students returned to campus across the United States, and stunned investors with fewer-

15 than-expected enrollments and did not provide 2022 guidance. In fact, CEO and President

16 Dan Rosensweig admitted that defendants were aware of the slowdown in September 2021.

17 Chegg’s stock price plummeted nearly 50% (from over $62 to $32 per share) on more than 45

18 times the average daily volume as investors realized defendants’ rosy statements about

19 subscribers, growth, and revenues had been misleading, which decline immediately erased

20 billions of dollars in market capitalization.

21                                   JURISDICTION AND VENUE

22          6.      The claims asserted herein arise under §§ 10(b) and 20(a) of the Exchange Act

23 (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17 C.F.R. § 240.10b-

24 5). This Court has jurisdiction over the subject matter of this action under 28 U.S.C. § 1331 and

25 § 27 of the Exchange Act (15 U.S.C. § 78aa).

26          7.      Venue is proper in this District pursuant to § 27 of the Exchange Act, as Chegg is

27 headquartered in this District and many of the false and misleading statements alleged herein

28 were disseminated from this District where Chegg is headquartered.

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 1          8.      In connection with the acts alleged in this complaint, defendants, directly or

 2 indirectly, used the means and instrumentalities of interstate commerce, including, but not

 3 limited to, the mails, interstate telephone communications and the facilities of the national

 4 securities markets.

 5                                             PARTIES

 6          9.      Plaintiff Steven Leventhal purchased Chegg common stock during the Class

 7 Period, as set forth in the accompanying certification incorporated by reference herein and has

 8 been damaged thereby.

 9          10.     Defendant Chegg is a Santa Clara, California-based online purveyor of academic

10 support services. Chegg common stock is listed and trades on the NASDAQ, an active market,

11 under the ticker symbol “GHGG.” As of October 25, 2021, the Company had 145 million shares

12 of common stock issued and outstanding.

13          11.     Defendant Daniel L. Rosensweig (“Rosensweig”) is, and was at all relevant times,

14 the President and Chief Executive Officer (“CEO”) of Chegg and the Co-Chair of its Board of

15 Directors. During the Class Period, Defendant Rosensweig sold 552,000 of his personally-held

16 shares of Chegg common stock at fraud-inflated prices reaping more than $48 million in illicit

17 proceeds.

18          12.     Defendant Andrew J. Brown (“Brown”) is, and was at all relevant times, the Chief

19 Financial Officer of Chegg.

20          13.     Defendant Nathan Schultz (“Schultz”) is, and was at all relevant times, the

21 President of Learning Services of Chegg. During the Class Period, Defendant Schultz sold

22 307,000 of his personally-held shares of Chegg common stock at fraud-inflated prices reaping

23 $25 million in illicit proceeds.

24          14.     Defendant John P. Fillmore (“Fillmore”) is, and was at all relevant times, the

25 President of Chegg Skills. During the Class Period, Defendant Fillmore sold 125,000 of his

26 personally-held shares of Chegg common stock at fraud-inflated prices reaping nearly

27 $10 million in illicit proceeds.

28          15.     Defendant Robin Tomasello (“Tomasello”) is, and was at all relevant times, the

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 1 Principal Accounting Officer, Assistant Treasurer, Vice President and Controller of Chegg.

 2 During the Class Period, Defendant Tomasello sold 32,000 of her personally-held shares of

 3 Chegg common stock at fraud-inflated prices reaping nearly $3 million in illicit proceeds.

 4          16.     Defendant Richard Sarnoff (“Sarnoff”) is, and was at all relative times, the Co-

 5 Chairman of the Chegg Board of Directors. During the Class Period, Defendant Sarnoff sold

 6 66,666 shares of his personally-held shares of Chegg common stock at fraud-inflated prices

 7 reaping more than $4 million in illicit proceeds.

 8          17.     Defendants Rosensweig, Brown, Schultz, Fillmore and Tomasello are sometimes

 9 referred to herein as the “Individual Defendants.” Chegg and the Individual Defendants are

10 referred to herein, collectively, as “Defendants.”

11                                          BACKGROUND

12          18.     Defendant Chegg operates a direct-to-student learning platform that supports

13 students on their journey from high school to college and into their career with tools designed to

14 help them to learn their course materials, succeed in their classes, and save money on required

15 materials.     The Company offers Chegg Services, which include subscription services; and

16 required materials that comprise its print textbooks and eTextbooks. Its subscription services

17 include Chegg Study, which helps students master challenging concepts on their own;

18 Chegg Writing, which provides students with a suite of tools, such as plagiarism detection scans,

19 grammar and writing fluency checking, expert personalized writing feedback, and premium

20 citation generation; Chegg Math Solver, a step-by-step math problem solver and calculator that

21 helps students to solve problems; Chegg Study Pack, a bundle of various Chegg Services product

22 offerings, including Chegg Study, Chegg Writing, Chegg Math Solver, video content, and

23 practice quizzes, which creates an integrated platform of connected academic support services;

24 and Thinkful, a skills-based learning platform that offers professional courses in the areas of

25 software engineering, UX/UI design, digital marketing, data science, product management, data

26 analytics, product design, and technical project management directly to students. The Company

27 also provides other services, such as Chegg Prep and internships; and rents and sells print

28 textbooks and eTextbooks.         Chegg was incorporated in 2005 and is headquartered in

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 1 Santa Clara, California.

 2          19.    In 2020, Chegg generated 81% of its revenue from its Chegg Services division,

 3 which hosts its subscription-based online education services, and the remaining 19% from its

 4 Required Materials division, which handles textbook rentals. It generates most of its revenue

 5 within the United States.

 6          20.    Chegg’s online education services, especially its tutoring platform that allows

 7 experts to solve homework questions for students, have often been criticized as a form of

 8 cheating. Two years ago, famed short-seller Citron Research called Chegg the “poster child of

 9 institutionalized academic cheating” as it shorted the stock.

10          21.    Nonetheless, Chegg continued to grow amid rising demand for its online tutoring

11 services and textbook rentals. When the COVID-19 pandemic hit in early 2020, that demand

12 accelerated significantly as more students stayed at home:

13                         Revenue          Growth     FY 2019      FY 2020
                           (Y/Y)
14
                           Chegg Services                 31%         57%
15

16                         Required Materials             17%         56%

17                                           Total:      28%          57%

18

19          22.    Chegg Services ended 2020 with 6.6 million annual subscribers, compared to

20 3.9 million subscribers in 2019 and more than twice the 3.1 million subscribers the Company had

21 in 2018. Chegg also narrowed its net losses in both years. In 2020, it posted a net loss of

22 $6.2 million from $644.3 million in revenues. That progress made Chegg look like a promising

23 growth stock, and its shares hit an all-time high of more than $115 per share.

24          23.    The Company’s statements surrounding its exponential increase in subscribers,

25 revenues, and profits in 2020, which Chegg claimed was due to the strength of its business model

26 and the Company’s leaders’ business acumen, were false and misleading. In reality, as students

27 took more virtual courses and tests remotely with less supervision, students discovered they had

28 open access to the Chegg Services apps 24/7, including for completing their homework, tests,

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 1 writing assignments, and even dissertations and exams. According to a recent Forbes exposé, a

 2 University of Florida student admitted that “If I don’t want to learn the material, I use Chegg to

 3 get the answers” and a University of Portland student candidly admitted that “I use Chegg to

 4 blatantly cheat.” Based thereon, Chegg reported quarter after quarter of growing subscribers,

 5 revenues, and profits during the Class Period, reporting 4.9 million subscribers as of the end of

 6 June 2021, a 31% year-over-year increase, and $198.5 million in quarterly revenue, also a 30%

 7 year-over-year increase.

 8                          DEFENDANTS’ MATERIALLY FALSE AND
                           MISLEADING CLASS PERIOD STATEMENTS
 9
            24.     Throughout the Class Period, defendants led investors to believe that the basis for
10
     Chegg’s explosive growth was an “inevitable” shift in higher education and falsely touted that
11
     the Company was “in a unique position to impact the future of the higher education ecosystem”
12
     and that the primary cause of the Company’s success was “[o]ur strong brand and momentum”
13
     which would supposedly allow Chegg “to continue to grow and take advantage of the ever-
14
     expanding opportunities in the learner economy.”        For example, in prepared remarks on
15
     May 4, 2020 announcing first quarter 2020 financial results in a Form 8-K filed with the SEC,
16
     CEO Rosensweig stated in pertinent part as follows:
17
            Our belief is that, in every industry, a crisis often accelerates the inevitable and
18          that is what we are seeing happening now in higher education. The reality is
            students were already learning online, were under supported by their schools who
19          had diminishing budgets, so that the need for virtual learning support was already
            expanding. But, almost overnight, when schools around the world had to move
20          100% online, that trend accelerated and has revealed the true potential and the
            value of what Chegg has to offer. The numbers say it best, and what they reflect is
21          that students have an even greater need for high-quality, low-cost, personalized,
            and adaptive online education to help them learn and master their curriculum. As
22          we think about the lasting impact on the future of higher education globally, we
            see these trends continuing.
23
            25.     Defendants made similarly favorable but false and misleading statements in
24
     connection with reporting the Company’s second, third and fourth quarter 2020 results on,
25
     respectively, August 3, 2020, October 26, 202 and February 8, 2021, as well as in its provision of
26
     forward financial guidance. For example, the Company’s February 8, 2021 release quoted
27
     Defendant Rosensweig stating in pertinent part as follows:
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 1           “We are incredibly grateful that, even in the midst of the many challenges of the
             past year, we outperformed all expectations and were able to continue to support
 2           students, in record numbers, around the world,” said Dan Rosensweig, CEO &
             President of Chegg, Inc. “The transition to online and hybrid learning is inevitable
 3           and, with the accelerated trends that we are seeing, we have the confidence to
             raise our guidance for 2021.”
 4

 5           26.    Defendants’ kept up the positive mantra as fiscal 2021 rolled out, emphasizing in

 6 the Company’s May 3, 2021 release announcing first quarter 2021 results that: “We are in a

 7 unique position to impact the future of the higher education ecosystem” as “[o]ur strong brand

 8 and momentum will allow us to continue to grow and take advantage of the ever-expanding

 9 opportunities in the learner economy,” and in its August 9, 2021 release announcing second

10 quarter 2021 results that: “It is clear, wherever students are learning, whether online, in the

11 classroom, or in a hybrid model, the value of Chegg is unquestionable.”

12           27.    Based on defendants’ materially false and misleading Class Period statements, the

13 market price of Chegg common stock more than tripled during the Class Period, reaching a high

14 of more than $115 per share by February 16, 2021.

15           28.    With the market price of Chegg stock artificially inflated, several of Chegg’s

16 senior officers and directors cashed-in, selling more than $90 million of their personally-held

17 shares:

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 1                 Defendant     Date         Price    Shares        Proceeds
              Fillmore           5/18/2020    $64.85       49,442     $3,206,314
 2
                                  6/3/2020    $62.30        1,321        $82,298
 3                                9/2/2020    $77.73        1,321       $102,681
                                 12/3/2020    $75.55        1,321        $99,802
 4                                3/3/2021    $90.81        8,419       $764,529
 5                                3/3/2021    $87.88        9,778       $859,291
                                  3/3/2021    $91.56        1,740       $159,314
 6                                3/3/2021    $88.82        6,700       $595,094
                                  3/3/2021    $96.07        4,086       $392,542
 7
                                  3/3/2021    $96.59          500        $48,295
 8                                3/3/2021    $89.85       20,042     $1,800,774
                                  3/3/2021    $96.42          240        $23,141
 9                               4/13/2021    $89.67        3,197       $286,675
10                               4/13/2021    $91.01       16,517     $1,503,212
                                                         124,624     $9,923,962
11            Rosensweig          5/14/2020   $63.81       28,000     $1,786,680
                                  6/29/2020   $64.84       28,000     $1,815,520
12
                                   7/7/2020   $70.83       28,000     $1,983,240
13                                 8/5/2020   $84.61       28,000     $2,369,080
                                  9/22/2020   $66.26       28,000     $1,855,280
14                               10/12/2020   $82.24       28,000     $2,302,720
                                 11/19/2020   $70.64       28,000     $1,977,920
15
                                 12/11/2020   $81.33       28,000     $2,277,240
16                                 1/7/2021   $91.34       23,477     $2,144,389
                                   1/7/2021   $90.08        4,423       $398,424
17
                                   1/7/2021   $91.93          100         $9,193
18                                2/22/2021   $99.55      300,000    $29,865,000
                                                         552,000    $48,784,686
19            Sarnoff             5/13/2020 $65.09         66,666     $4,339,290
                                                          66,666     $4,339,290
20
              Schultz              5/5/2020   $60.00       47,376     $2,842,560
21                                6/22/2020   $70.19       35,083     $2,462,476
                                  7/31/2020   $80.34       82,459     $6,624,756
22
                                 12/21/2020   $90.20       82,458     $7,437,712
23                                4/23/2021   $92.80       10,673       $990,454
                                  4/23/2021   $92.08       19,027     $1,752,006
24                                4/23/2021   $93.70          300        $28,110
                                  4/26/2021   $95.26       30,000     $2,857,800
25
                                                         307,376    $24,995,874
26            Tomasello          11/20/2020 $71.45         32,016     $2,287,543
                                                          32,016     $2,287,543
27            Total                                    1,082,682    $90,331,355
28

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 1          29.    The Company also took advantage of the artificially inflated trading price of

 2 Chegg stock by selling more than $1 billion of common stock to investors in the

 3 February 18, 2021 upsized secondary offering at the artificially inflated price of $102 per share.

 4          30.    Meanwhile, students’ use of Chegg apps to cheat on their assignments and exams

 5 had begun to draw the ire of high school and college administrators around the country. For

 6 example, in December 2020, Texas A&M University officials sent an e-mail to hundreds of

 7 students in an online finance class noting that faculty had reported concerns of cheating “on a

 8 very large scale” to the Aggie Honor System Office after faculty noticed some students in the

 9 class answered online test questions too quickly. Later, faculty discovered entire exams posted

10 on the Chegg Services app. Texas A&M’s online learning platform, Canvas, tracks how long

11 test questions are displayed on a student’s screen and officials found “hundreds of examples”

12 where students answered a question faster than it would take to read it. In September 2021,

13 Pearson, one of the largest educational content corporations in the world, sued Chegg for

14 engaging in “massive” violation of Pearson’s copyrights because Chegg had published, and sold,

15 answers to the tests and practice questions in Pearson textbooks. Schools also began spending

16 millions of dollars on remote proctoring by private companies like Honorlock and Examity to

17 surveil students while they take tests, including locking students’ web browsers and watching

18 them through their laptop cameras.           These material threats to Chegg’s business model

19 eviscerated the growth in demand for its subscription services as students returned to in-person

20 school during the third quarter of 2021.

21          31.    Indeed, as schools began to reopen in 2021, Chegg began experiencing a dramatic

22 post-pandemic slowdown:

23                   Revenue          Growth      Q1 2021     Q2 2021       Q3 2021
                     (Y/Y)
24
                     Chegg Services                 62%         38%           23%
25

26                   Required Materials             15%         (8%)         (28%)

27                                     Total:      51%          30%          12%

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 1          32.    Each of defendants’ statements set forth in ¶¶ 24-26 were materially false and

 2 misleading when made because they misrepresented and/or omitted material facts necessary to

 3 make the statements made not misleading. These material facts, which were known to or

 4 deliberately disregarded by each of the defendants, were:

 5                 (a)     that Chegg’s increase in subscribers, growth, and revenue had been a

 6 temporary effect of the COVID-19 pandemic that resulted in remote education for the vast

 7 majority of U.S. students and once the pandemic-related restrictions eased and students returned

 8 to campuses nationwide, Chegg’s extraordinary growth trends would end.

 9                 (b)     that Chegg’s subscriber and revenue growth were largely due to the

10 facilitation of cheating – an unstable business proposition – rather than the strength of its

11 business model or the acumen of its senior executives and directors; and

12                 (c)     that as a result, the Company’s current business metrics and financial

13 prospects were not as strong as it had led the market to believe during the Class Period.

14          33.    On November 1, 2021, after the close of trading, Chegg revealed its financial

15 results for the first quarter in which students returned to campus across the United States. Chegg

16 stunned investors with fewer-than-expected enrollments and declined to provide 2022 guidance.

17 In fact, CEO and President Rosensweig admitted that defendants were aware of the slowdown in

18 September 2021. In response to this news, analysts confirmed they were caught off guard and

19 misled by defendants’ prior statements:

20                 •       “We were negatively surprised by the US enrolment outturn given last
21                         year’s COVID-19 impact, as well as by Chegg’s gearing to enrolments,

22                         which heighten concerns on 2022.” (BofA Securities Nov. 5, 2021)

23                 •       “With concerning commentary around the demand for Chegg solutions
24                         during this academic yr, Q4 rev guide 19% lower than prior implied Q4

25                         guidance, and no 2022 guidance, we lower our 2022 revenue estimate by

26                         18%, suggesting a covid reset, resulting in only 7% CY22 rev growth.

27                         Downgrade to EW, PT $53.” (Morgan Stanley, Nov. 2, 2021)

28          34.    On this news, the price of Chegg stock plummeted nearly 50% on unusually high

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 1 volume of more than 4,500% greater than the average daily volume over the preceding 30

 2 trading days. By the close of trading that day, more than $4.3 billion in market capitalization had

 3 simply vanished.

 4                        APPLICATION OF PRESUMPTION OF RELIANCE

 5          35.     Plaintiff and the Class are entitled to a presumption of reliance under

 6 Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), because the claims asserted herein

 7 against defendants are largely predicated upon omissions of material fact for which there was a

 8 duty to disclose.

 9          36.     Plaintiff also will rely upon the presumption of reliance established by the fraud

10 on the market doctrine in that, among other things:

11                  (a)    Defendants made public misrepresentations or failed to disclose material

12 facts during the Class Period;

13                  (b)    The omissions and misrepresentations were material;

14                  (c)    Chegg common stock traded in an efficient market;

15                  (d)    The misrepresentations alleged would tend to induce a reasonable investor

16 to misjudge the value of Chegg common stock; and

17                  (e)    Plaintiff and other members of the Class (as defined below) purchased

18 Chegg common stock between the time defendants misrepresented or failed to disclose material

19 facts and the time the true facts were disclosed, without knowledge of the misrepresented or

20 omitted facts.

21          37.     At all relevant times, the market for Chegg common stock was efficient for the

22 following reasons, among others:

23                  (a)    As a regulated issuer, Chegg filed periodic public reports with the SEC;

24 and

25                  (b)    Chegg regularly communicated with public investors via established

26 market communication mechanisms, including through the regular dissemination of press

27 releases on major news wire services and through other wide-ranging public disclosures, such as

28 communications with the financial press, securities analysts, and other similar reporting services.

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 1                             LOSS CAUSATION/ECONOMIC LOSS

 2          38.    During the Class Period, as detailed herein, defendants made false and misleading

 3 statements and engaged in a scheme to deceive the market and a course of conduct that

 4 artificially inflated the price of Chegg common stock and operated as a fraud or deceit on Class

 5 Period purchasers of Chegg common stock. As defendants’ misrepresentations and fraudulent

 6 conduct became apparent to the market, the price of Chegg common stock fell precipitously, as

 7 the prior artificial inflation came out of the stock’s price. As a result of their purchases of Chegg

 8 common stock during the Class Period, plaintiff and other members of the Class suffered

 9 economic loss, i.e., damages, under the federal securities laws.

10                                 CLASS ACTION ALLEGATIONS

11          39.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

12 Procedure 23(a) and (b)(3) on behalf of a class consisting of all purchasers of Chegg common

13 stock during the Class Period (the “Class”). Excluded from the Class are defendants and their

14 families, the officers and directors of the Company, at all relevant times, members of their

15 immediate families, and defendants’ legal representatives, heirs, successors or assigns and any

16 entity in which defendants have or had a controlling interest.

17          40.    The members of the Class are so numerous that joinder of all members is

18 impracticable. Throughout the Class Period, Chegg common stock was actively traded on the

19 NASDAQ. While the exact number of Class members is unknown to plaintiff at this time and

20 can only be ascertained through appropriate discovery, plaintiff believes that there are hundreds

21 or thousands of members in the proposed Class. Record owners and other members of the Class

22 may be identified from records maintained by Chegg and/or its transfer agent and may be

23 notified of the pendency of this action by mail, using the form of notice similar to that

24 customarily used in securities class actions.

25          41.    Plaintiff’s claims are typical of the claims of the members of the Class as all

26 members of the Class are similarly affected by defendants’ wrongful conduct in violation of

27 federal law that is complained of herein.

28          42.    Plaintiff will fairly and adequately protect the interests of the members of the

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 1 Class and has retained counsel competent and experienced in class and securities litigation.

 2          43.      Common questions of law and fact exist as to all members of the Class and

 3 predominate over any questions solely affecting individual members of the Class. Among the

 4 questions of law and fact common to the Class are:

 5                   (a)    whether the Exchange Act was violated by defendants as alleged herein;

 6                   (b)    whether statements made by defendants misrepresented material facts

 7 about the business and operations of Chegg; and

 8                   (c)    to what extent the members of the Class have sustained damages and the

 9 proper measure of damages.

10          44.      A class action is superior to all other available methods for the fair and efficient

11 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

12 the damages suffered by individual Class members may be relatively small, the expense and

13 burden of individual litigation make it impossible for members of the Class to individually

14 redress the wrongs done to them. There will be no difficulty in the management of this action as

15 a class action.

16
                                                  COUNT I
17
                               For Violation of § 10(b) of the Exchange Act
18                               and Rule 10b-5 Against All Defendants

19          45.      Plaintiff incorporates ¶¶ 1-44 by reference.

20          46.      During the Class Period, defendants disseminated or approved the false

21 statements specified above, which they knew or deliberately disregarded were misleading in that

22 they contained misrepresentations and failed to disclose material facts necessary in order to make

23 the statements made, in light of the circumstances under which they were made, not misleading.

24          47.      Defendants violated § 10(b) of the Exchange Act and Rule 10b-5 in that they:

25 (a) employed devices, schemes and artifices to defraud; (b) made untrue statements of material

26 facts or omitted to state material facts necessary in order to make the statements made, in light of

27 the circumstances under which they were made, not misleading; or (c) engaged in acts, practices

28 and a course of business that operated as a fraud or deceit upon plaintiff and others similarly

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 1 situated in connection with their purchases of Chegg common stock during the Class Period.

 2          48.    Plaintiff and the Class have suffered damages in that, in reliance on the integrity

 3 of the market, they paid artificially inflated prices for Chegg common stock. Plaintiff and the

 4 Class would not have purchased Chegg common stock at the prices they paid, or at all, if they

 5 had been aware that the market prices had been artificially and falsely inflated by defendants’

 6 misleading statements.

 7
                                               COUNT II
 8
                             For Violation of § 20(a) of the Exchange Act
 9                                     Against All Defendants

10          49.    Plaintiff incorporates ¶¶1-48 by reference.

11          50.    The Individual Defendants acted as controlling persons of Chegg within the

12 meaning of §20(a) of the Exchange Act. By reason of their positions with the Company, and

13 their ownership of Chegg common stock, the Individual Defendants had the power and authority

14 to cause Chegg to engage in the wrongful conduct complained of herein. Chegg controlled the

15 Individual Defendants and all of the Company’s employees.            By reason of such conduct,

16 defendants are liable pursuant to §20(a) of the Exchange Act.

17                                      PRAYER FOR RELIEF

18          WHEREFORE, plaintiff prays for relief and judgment as follows:

19          51.    Determining that this action is a proper class action, designating plaintiff as Lead

20 Plaintiff and certifying plaintiff as a Class representative under Rule 23 of the Federal Rules of

21 Civil Procedure and plaintiff’s counsel as Lead Counsel;

22          A.     Awarding compensatory damages in favor of plaintiff and the other Class

23 members against all defendants, jointly and severally, for all damages sustained as a result of

24 defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

25          B.     Awarding plaintiff and the Class their reasonable costs and expenses incurred in

26 this action, including counsel fees and expert fees; and

27          C.     Awarding such equitable/injunctive or other relief as deemed appropriate by the

28 Court.

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 1                                        JURY DEMAND

 2       Plaintiff demands a trial by jury.

 3 DATED: December 22, 2021                   JOHNSON FISTEL, LLP
                                              FRANK J. JOHNSON
 4
                                              /s/ Frank J. Johnson
 5                                            501 West Broadway, Suite 800
                                              San Diego, CA 92101
 6                                            Telephone: 619/230-0063
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 7                                            FrankJ@johnsonfistel.com
 8                                            Attorneys for Plaintiff
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                                      CERTIFICATION OF PLAINTIFF PURSUANT
                                        TO THE FEDERAL SECURITIES LAWS
                     I, Steven Leventhal, declare the following as to the claims asserted, or to be asserted,

            under the federal securities laws:

                     1.      I have reviewed the complaint with my counsel and authorize its filing.

                     2.      I did not acquire the securities that are the subject of this action at the direction of

            plaintiff’s counsel or in order to participate in any private action or any other litigation under the

            federal securities laws.

                     3.      I am willing to serve as a representative party on behalf of the class, including
            testifying at deposition or trial, if necessary.

                     4.      I made the following transactions during the Class Period in the securities that are

            the subject of this action.


            Acquisitions:                                           Number of Shares         Acquisition Price Per
                                             Date Acquired             Acquired                     Share
                                               12/9/2020                    30                      $78.365




            Sales:                                                  Number of Shares           Selling Price Per
                                                Date Sold                Sold                        Share
                                               10/21/2021                    5                       $62.02




                     5.      I will not accept any payment for serving as a representative party beyond my

            pro-rata share of any recovery, except reasonable costs and expenses – such as lost wages and

            travel expenses – directly related to the class representation, as ordered or approved by the Court

            pursuant to law.
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                     6.      I have not sought to serve or served as a representative party for a class in an

            action under the federal securities laws within the past three years, except if detailed below:




                     I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.

                     Executed on:    12/22/2021




                                                             __________________________________________

                                                             Steven Leventhal
